                 Case 1:16-cr-00151-DAD-BAM    Document
                                IN THE UNITED STATES    6 FiledCOURT
                                                     DISTRICT   09/20/16 Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                CR NO: 1:16-CR-00151 DAD-BAM (002)

KYE AARON DUNBAR

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:      KYE AARON DUNBAR
Detained at            PHOENIX FCI, AZ
Detainee is:           a.)  ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                              charging detainee with: 18 U.S.C. § 1349 -Conspiracy to Commit Wire Fraud
                                                          18 U.S.C. § 1343 –Wire Fraud (Five Counts)
                  or   b.)  ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or   b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

                        Appearance is necessary FORTHWITH in the Eastern District of California.

                       Signature:                               /s/ BRIAN K. DELANEY
                       Printed Name & Phone No:                 BRIAN K. DELANEY (661) 489-6150
                       Attorney of Record for:                  United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated:      September 20, 2016                             /s/   Barbara A. McAuliffe
                                                           Honorable Barbara A. McAuliffe
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                 ☒Male      ☐Female
Booking or CDC #:       49623-048                                                          DOB:
Facility Address:       37900 N 45th Ave, Phoenix, AZ 85086                                Race:
Facility Phone:         623-465-9757                                                       FBI#:
Currently

                                                   RETURN OF SERVICE
Executed on:
                                                             (signature)
